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 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                       EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                          No. 1:16-CR-00093-LJO-SKO

12                                        Plaintiff,     PRELIMINARY ORDER OF FORFEITURE

13             v.

14    VERONICA ROSALES-CAPITAINE,
      FRANCISCO JAVIER HIDALGO-
15    FLORES, and
      LIZET AMAIRANI RAMIREZ-
16    ZAZUETA,

17                           Defendants.

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19             Based upon the pleas entered into between United States of America and defendants

20    Veronica Rosales-Capitaine, Francisco Javier Hidalgo-Flores, and Lizet Amairani Ramirez-

21    Zazueta, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

22             1.       Pursuant to 18 U.S.C. § 982(a)(6), 981(a)(1)(C), 982(a)(2)(B), 1028(b)(5), and

23    28 U.S.C. § 2461(c), defendants Veronica Rosales-Capitaine, Francisco Javier Hidalgo-Flores,

24    and Lizet Amairani Ramirez-Zazueta’s interests in the following property shall be condemned

25    and forfeited to the United States of America, to be disposed of according to law:

26             Items seized pursuant to search warrant 1:16-SW-00152-SAB from 921 N. Peach, Apt.
               115, Fresno, California:
27
                        a. Galaxy cellular telephone,
28                      b. Apple iPhone, and
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 1                      c. Miscellaneous documents.

 2             Items seized pursuant to search warrant 1:16-SW-00152-SAB from Silver Nissan
               Altima:
 3
                        d. LG cellular telephone, and
 4                      e. Miscellaneous documents.

 5             Items seized pursuant to search warrant 1:16-SW-00156-SKO from 4730 E. Butler
               Ave., Apt. 140, Fresno, California:
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                        f.   LG cellular telephone S/N 601CYRN885670,
 7                      g.   LG cellular telephone S/N 601CYMR871067,
                        h.   Epson XP410 printer S/N S5ZP677269,
 8                      i.   Dell Inspiron Laptop S/N NM44ZA20,
                        j.   Two (2) computer peripheral thumb-drives/memory sticks, and
 9                      k.   Miscellaneous documents.

10             2.        The above-listed assets constitute property that was used to facilitate or is

11    intended to be used to facilitate, the commission of a violation of 18 U.S.C. § 1028(a)(2) and

12    (f), or is property constituting, derived from, or are the proceeds the defendants obtained

13    directly or indirectly, as the result of a violation of 18 U.S.C § 371.

14             3.       Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be

15    authorized to seize the above-listed property. The aforementioned property shall be seized

16    and held by the Department of Homeland Security, Customs and Border Protection in its

17    secure custody and control.

18             4.       a.       Pursuant to 18 U.S.C. §§ 982(b), 1028(b)(5), 28 U.S.C. § 2461(c),

19    incorporating 21 U.S.C. § 853(n), and Local Rule 171, the United States shall publish notice of

20    the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a designee’s)

21    intent to dispose of the property in such manner as the Attorney General may direct shall be

22    posted for at least 30 consecutive days on the official internet government forfeiture site

23    www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written

24    notice to any person known to have alleged an interest in the property that is the subject of the

25    order of forfeiture as a substitute for published notice as to those persons so notified.

26                      b.       This notice shall state that any person, other than the defendants, asserting

27    a legal interest in the above-listed property, must file a petition with the Court within sixty (60)

28    days from the first day of publication of the Notice of Forfeiture posted on the official
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 1    government forfeiture site, or within thirty (30) days from receipt of direct written notice,

 2    whichever is earlier.

 3             5.       If a petition is timely filed, upon adjudication of all third-party interests, if any,

 4    this Court will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 982(a)(6), 981(a)(1)(C),

 5    982(a)(2)(B), 1028(b)(5), and 28 U.S.C. § 2461(c), in which all interests will be addressed.

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      IT IS SO ORDERED.
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 8        Dated:       September 29, 2016                         /s/ Lawrence J. O’Neill _____
                                                        UNITED STATES CHIEF DISTRICT JUDGE
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     PRELIMINARY ORDER OF FORFEITURE                        3
